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Counsel for Nobuaki Kobayashi, In
His Capacities as the Bankruptcy
Trustee and Foreign Representative
and Trustee of the Second Civil
Rehabilitation Proceeding and
Proposed Foreign Representative of
MtGox Co., Ltd., a/k/a/ MtGox KK


                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


 In re:                                      Chapter 15

 MtGox Co., Ltd. (a/k/a MtGox KK),           Case No. 14-31229-sgj-15

           Debtor in a Foreign Proceeding.


                           LIST PURSUANT TO
             FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(a)(4)
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       Petitioner Nobuaki Kobayashi, in his capacities as the bankruptcy trustee and foreign

representative of MtGox Co., Ltd., a/k/a MtGox KK (the “Debtor”), and as court-appointed trustee

and duly-authorized foreign representative of the Debtor (the “Petitioner”), as a debtor in a civil

rehabilitation proceeding under Japanese law (the “Second Civil Rehabilitation Proceeding”),

currently pending before the Twentieth Civil Division of the Tokyo District Court, Japan (the

“Tokyo Court”), by and through his undersigned U.S. counsel, hereby submits the following list

in accordance with Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure.

Persons or Bodies Authorized to Administer Foreign Proceedings of the Debtor.

       1.       The duly appointed trustee and foreign representative in the Second Civil

Rehabilitation Proceeding is listed below:

Trustee and Foreign
Representative of the Debtor

Nobuaki Kobayashi
Nagashima Ohno & Tsunematsu
JP Tower
2-7-2 Marunouchi, Chiyouda-ku
Tokyo 100-7036, Japan

Parties to Litigation Pending in the United States in Which Debtor is a Party.

       2.       The following proceeding in which the Debtor is a defendant and counter-claimant

is pending in the United States District Court for the Western District of Washington: CoinLab,

Inc. v. MtGox KK, et al., Case No. 13-00777 (MJP) (W.D. Wash. May 2, 2013).

Parties and Counsel:

Coinlab, Inc.

Roger M. Townsend
Breskin Johnson & Townsend PLLC
1111 Third Avenue, Suite 2230
Seattle, WA 98101


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MtGox Co. Ltd, (named as Mt. Gox KK)

Melanie L. Mayer
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1191 Second Avenue, 10th Floor
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Tibanne Co., Ltd, (named as TibanneKK)

Mark Karpales (pro se)
11-5, Shibuya 2-chrome
Shibuya-Ku
Tokyo, Japan



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Dated:   October 25, 2018                   Respectfully submitted,
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                                            Counsel for Nobuaki Kobayashi, In His
                                            Capacities as the Bankruptcy Trustee and
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                                            Second Civil Rehabilitation Proceeding and
                                            Proposed Foreign Representative of MtGox
                                            Co., Ltd., a/k/a/ MtGox KK




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